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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                          Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )                          Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             )                          Jointly Administered
                                  )
                    Debtors.      )                          Re: Docket No. 151
                                  )

  NOTICE OF AMENDED2 AGENDA FOR HEARING SCHEDULED FOR JULY 11, 2019
                AT 2:00 P.M. (PREVAILING EASTERN TIME)
  BEFORE THE HONORABLE KEVIN GROSS, U.S. BANKRUPTCY COURT JUDGE3,4

  1.      Motion of the Debtors for Entry of Interim and Final Orders Pursuant to Sections 105(a),
          363, and 1108 of the Bankruptcy Code (A) Authorizing the Debtors to Implement a Plan
          of Closure for Hahnemann University Hospital; and (B) Scheduling a Final Hearing [D.I.
          15; filed: 07/01/19]

          Responses Received:

          A.       Response of the City of Philadelphia [D.I. 49; filed: 07/01/19]

          B.       Objection of the Commonwealth of Pennsylvania Department of Health [D.I. 51;
                   filed: 07/01/19]

          C.       Limited Objection of Drexel University [D.I. 66; filed: 07/02/19]

          D.       Objections of the Commonwealth of Pennsylvania as Parens Patriae [D.I. 102;
                   filed: 07/05/19]

  1
          The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
          number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
          Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
          PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
          Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
          Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
          (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
          230 North Broad Street, Philadelphia, Pennsylvania 19102.
  2
          All Amended Agenda items appear in bold.
  3
          The hearing will be held at the United States Bankruptcy Court for the District of Delaware, 824 Market
          Street, 6th Floor, Courtroom 3, Wilmington, Delaware 19801.
  4
          Parties who are unable to attend a hearing may request telephonic participation by contacting CourtCall toll
          free by phone (866-582-6878) or by facsimile (866-533-2946).



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        E.       Objection of Pennsylvania Association of Staff Nurses and Allied Professionals
                 [D.I. 105; filed: 07/05/19]

        F.       Response of the Accreditation Council for Graduate Medical Education [D.I. 122;
                 filed: 07/08/19]

        Related Documents:

        A.       Order [D.I. 101; signed and docketed: 07/03/19]

        Status: This matter has been continued to the hearing scheduled for July 16, 2019 at
               11:00 a.m.

2.      Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors
        to Obtain Postpetition Secured Financing Pursuant To Section 364 of the Bankruptcy
        Code, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and
        Superpriority Administrative Expense Status, (IV) Granting Adequate Protection to the
        Prepetition Lender, (V) Modifying the Automatic Stay, (VI) Scheduling a Final Hearing,
        and (VII) Granting Related Relief [D.I. 53; filed: 07/01/19]

        Responses Received:

        A.       Statement of Tenet Business Services Corporation and Conifer Revenue Cycle
                 Solutions, LLC Regarding First Day Pleadings [D.I. 52; filed: 07/01/19]

        B.       Preliminary Response of HSREP VI Holding, LLC [D.I. 54; filed: 07/02/19]

        C.       Limited Response and Reservation of Rights of the City of Philadelphia [D.I.
                 67; filed: 07/02/19]

        D.       Limited Objection and Reservation of Rights of Tenet Business Services
                 Corporation and Conifer Revenue Cycle Solutions, LLC [D.I. 106; filed:
                 07/08/19]

        Related Documents:

        A.       Interim Order (I) Authorizing the Debtors to Cash Collateral, (II) Granting
                 Adequate Protection, (III) Scheduling a Further Hearing, and (IV) Granting
                 Related Relief [D.I. 85; signed and docketed: 07/02/19]

        Status: This matter will be going forward.




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Dated: July 10, 2019                      SAUL EWING ARNSTEIN & LEHR LLP

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                                          Debtors in Possession




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